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                 EXHIBIT 3
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·1· · · · · · · · · · - STUART VARDAMAN -

·2· · ·IN THE UNITED STATES DISTRICT COURT
· · · ·FOR THE SOUTHERN DISTRICT OF NEW YORK
·3· · ·------------------------------------- X
· · · ·ULKU ROWE,
·4
· · · · · · · · · · · Plaintiff,
·5
· · · · · · · · · · · · · · · · · Case No.
·6· · · · · · · · · · · · · · · · 19 Civ. 08655(LGS)(GWG)

·7· · · · · · · · · · v.

·8· · ·GOOGLE LLC

·9· · · · · · · · · · Defendant.

10· · ·------------------------------------- X

11· · ·DATE:· November 17, 2020

12· · ·TIME:· 9:37 a.m.

13

14· · · · · · · · · VIDEOTAPED VIDEOCONFERENCE DEPOSITION

15· · ·OF STUART VARDAMAN, held via Zoom, pursuant to ^

16· · ·Notice, before Hope Menaker, a Shorthand Reporter

17· · ·and Notary Public of the State of New York.

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·1· · · · · · · · · · - STUART VARDAMAN -                   ·1· · · · · · · · · · - STUART VARDAMAN -
·2· · ·her background was?                                  ·2· · ·conversation early on where I highlighted the
·3· · · · · A.· · ·Not that I recall.· I think it was       ·3· · ·process and that we were putting her in process
·4· · ·known that she had an industry background.           ·4· · ·and I'm -- I'm -- over the course of that
·5· · · · · Q.· · ·What did you know about her industry     ·5· · ·conversation, yeah, we may have spent some time on
·6· · ·background?                                          ·6· · ·her background.
·7· · · · · A.· · ·I think that she was at JPM.· Yeah,      ·7· · · · · Q.· · ·Are you referring to a conversation
·8· · ·that's pretty much it.                               ·8· · ·you had with Ms. Rowe?
·9· · · · · Q.· · ·That's pretty much all you knew about    ·9· · · · · A.· · ·Yeah.
10· · ·her background?                                      10· · · · · Q.· · ·When was that conversation?
11· · · · · A.· · ·Correct.                                 11· · · · · A.· · ·Oh, goodness.· It would have been
12· · · · · Q.· · ·Do you know what role she had at         12· · ·after Tariq asked our team to put her in process
13· · ·JPM?                                                 13· · ·for the head of financial services.
14· · · · · A.· · ·No, not that I recall.                   14· · · · · Q.· · ·Please tell me everything you recall
15· · · · · Q.· · ·Do you know how many years she had in    15· · ·about that conversation.
16· · ·the financial services industry?                     16· · · · · A.· · ·Given she was a Googler, I wanted to
17· · · · · A.· · ·Not -- no, not that I recall.            17· · ·share with her the process that we were running
18· · · · · Q.· · ·Do you know what her technological       18· · ·and we spent some time talking about her
19· · ·background was, her technology background?           19· · ·background as a means to spend a few minutes,
20· · · · · A.· · ·No.                                      20· · ·quote/unquote, getting to know each other.
21· · · · · Q.· · ·Do you know what advanced degrees she    21· · · · · Q.· · ·What did you discuss about her
22· · ·had?                                                 22· · ·background?
23· · · · · A.· · ·I don't recall --                        23· · · · · A.· · ·I don't recall.· It was quite some
24· · · · · · · · ·MR. GAGE:· Objection.                    24· · ·time ago.
25· · · · · A.· · ·-- ma'am.                                25· · · · · Q.· · ·How long did that conversation last?

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·1· · · · · · · · · · - STUART VARDAMAN -                   ·1· · · · · · · · · · - STUART VARDAMAN -
·2· · · · · Q.· · ·Did you know --                          ·2· · · · · A.· · ·I -- I can't say for sure.
·3· · · · · A.· · ·I was asked to put her in process and    ·3· · · · · Q.· · ·Was it more than five minutes?
·4· · ·I did.                                               ·4· · · · · A.· · ·I'm sorry, did you say more than five
·5· · · · · Q.· · ·Okay.· I'm asking:· At any point in      ·5· · ·minutes?
·6· · ·time, did you learn what her qualifications were?    ·6· · · · · Q.· · ·Yes.
·7· · · · · A.· · ·No.                                      ·7· · · · · A.· · ·Yes, for -- for sure.
·8· · · · · Q.· · ·At any point in time, did you learn      ·8· · · · · Q.· · ·Was it more than fifteen minutes?
·9· · ·what her industry background was beyond the fact     ·9· · · · · A.· · ·If I think about conversations like
10· · ·that she worked at JPM?                              10· · ·that it probably would have clocked in at about
11· · · · · A.· · ·At any point in time?                    11· · ·forty-five minutes, but again I can't state for
12· · · · · Q.· · ·Yes.                                     12· · ·sure.
13· · · · · A.· · ·No.                                      13· · · · · Q.· · ·At any point in time, did you review
14· · · · · Q.· · ·At any point in time, did you learn      14· · ·Ms. Rowe's resume?
15· · ·what her management background was managing teams?   15· · · · · A.· · ·I don't remember.
16· · · · · A.· · ·No.                                      16· · · · · Q.· · ·At any point in time, did you review
17· · · · · Q.· · ·At any point in time, did you learn      17· · ·Ms. Rowe's LinkedIn profile?
18· · ·what advanced degrees she had?                       18· · · · · A.· · ·I'm sure I would have come across it,
19· · · · · A.· · ·You already asked that question.         19· · ·yeah.
20· · · · · Q.· · ·I'm asking now at any point in time.     20· · · · · Q.· · ·Do you recall whether you reviewed
21· · · · · A.· · ·No, I didn't spend time on it.           21· · ·it?
22· · · · · Q.· · ·At any point in time, did you do         22· · · · · A.· · ·Reviewing and looking at it, yeah,
23· · ·anything to educate yourself about her               23· · ·probably.
24· · ·qualifications for the role?                         24· · · · · Q.· · ·I'm asking if you have an independent
25· · · · · A.· · ·Ma'am, you know, we may have had -- a    25· · ·recollection of actually viewing it or just you


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·1· · · · · · · · · · - STUART VARDAMAN -                   ·1· · · · · · · · · · - STUART VARDAMAN -
·2· · ·are assuming you would have.                         ·2· · ·asked us to put her in process.
·3· · · · · A.· · ·I'm assuming that I would have.          ·3· · · · · Q.· · ·Were you surprised that Mr. Shaukat
·4· · · · · Q.· · ·Do you recall anything else with         ·4· · ·was considering someone at a Level 8?
·5· · ·respect to the conversation you had with Mr.         ·5· · · · · A.· · ·That was my assumption on her level.
·6· · ·Shaukat regarding her entering the process?          ·6· · ·My job is not to be surprised.· When my hiring
·7· · · · · A.· · ·The conversations specifically, no.      ·7· · ·manager asks me to involve a Googler in the
·8· · ·Again, he asked to include her in the process and    ·8· · ·process, I do that.
·9· · ·we made that happen.                                 ·9· · · · · Q.· · ·Did Mr. Shaukat share with you that
10· · · · · Q.· · ·Did you understand her to have raised    10· · ·she was wasn't senior enough for the role, but he
11· · ·her hand to be considered for the position?          11· · ·still wanted you to put her in the process anyway?
12· · · · · A.· · ·I don't recall --                        12· · · · · A.· · ·Not that I recall.
13· · · · · · · · ·MR. GAGE:· Objection.                    13· · · · · · · · ·MS. GREENE:· We have been going about
14· · · · · A.· · ·I don't recall if she had applied.       14· · · · · an hour, does anyone need a short break?
15· · · · · Q.· · ·Do you recall being interviewed by       15· · · · · · · · ·Let's take a five-minute break and
16· · ·employee relations in connection with Ms. Rowe?      16· · · · · we'll come back and continue on.· Our -- our
17· · · · · A.· · ·Whether or not I knew on the outset      17· · · · · videographer will take it off the record.
18· · ·it had to do with Ulku I can't say for sure, but I   18· · · · · · · · ·MR. GAGE:· Okay.
19· · ·think the content of that conversation centered      19· · · · · · · · ·THE VIDEOGRAPHER:· Going off the
20· · ·there or as a topic.· So, yeah, I do recall          20· · · · · record, the time is 10:41 a.m. New York time.
21· · ·speaking with employee relations.                    21· · · · · · · · ·(Whereupon, a brief discussion was
22· · · · · Q.· · ·Did you actually get interviewed on      22· · · · · held off record.)
23· · ·two occasions by employee relations?                 23· · · · · · · · ·THE VIDEOGRAPHER:· The time is 10:49
24· · · · · A.· · ·It's possible.                           24· · · · · a.m. New York time, we're back on the record.
25· · · · · Q.· · ·Do you recall telling employee           25· · · · · Q.· · ·Okay.· Mr. Vardaman, I would like you

                                                Page 47                                                     Page 49
·1· · · · · · · · · · - STUART VARDAMAN -                   ·1· · · · · · · · · · - STUART VARDAMAN -
·2· · ·relation -- employee relations that she may have     ·2· · ·to look back at the Box again and you may need to
·3· · ·bubbled it up, the position, herself to Tariq?       ·3· · ·refresh.
·4· · · · · A.· · ·I don't recall saying that exactly.      ·4· · · · · A.· · ·Okay.
·5· · · · · Q.· · ·Whether you said that exactly, in sum    ·5· · · · · Q.· · ·And we're looking for a document that
·6· · ·or substance do you recall saying to ER that she     ·6· · ·was previously marked as Exhibit 51.· Tell me when
·7· · ·might have been the one to raise her hand for that   ·7· · ·you have that open.
·8· · ·position?                                            ·8· · · · · A.· · ·Forgive me.· I'm not trying to be
·9· · · · · A.· · ·I -- I really can't say.· I don't        ·9· · ·dense here.· What you do you mean previously
10· · ·remember the exact context and all the content of    10· · ·marked as 51?· Can you share the whole title.
11· · ·that discussion.                                     11· · · · · Q.· · ·It says "Exhibit 51" in the Box.
12· · · · · Q.· · ·Do you recall, putting aside that        12· · · · · A.· · ·Okay.· Well, I have two 51s in there.
13· · ·discussion, whether at any point in time you         13· · · · · · · · ·MR. GAGE:· And this one says
14· · ·learned that Ms. Rowe had raised her hand to be      14· · · · · X0051Bern version.
15· · ·considered for the position?                         15· · · · · A.· · ·Okay, okay.· Okay, I got it.
16· · · · · A.· · ·I -- I'm sorry, I'm having trouble       16· · · · · · · · ·MR. GAGE:· That just simply means it
17· · ·remembering the detail that you want.                17· · · · · was marked as an exhibit during a prior
18· · · · · Q.· · ·Do you recall whether you had            18· · · · · deposition.
19· · ·conversations with Ms. Rowe about whether she was    19· · · · · · · · ·THE WITNESS:· Ah.· Okay, got it.
20· · ·the one to throw her hat into the ring, so to        20· · · · · Q.· · ·Do you have that document open?
21· · ·speak?                                               21· · · · · A.· · ·I do.
22· · · · · · · · ·MR. GAGE:· Objection.                    22· · · · · Q.· · ·Okay.· The document you're looking at
23· · · · · A.· · ·No.· As I mentioned -- sorry, my         23· · ·was previously marked as Exhibit 51, Bates stamped
24· · ·screen keeps blanking out.· As I mentioned, I        24· · ·GOOG-ROWE-00056990 through 014.· So if you look at
25· · ·connected with her.· I believe it was after Tariq    25· · ·this document, in the upper right-hand corner are


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·1· · · · · · · · · · - STUART VARDAMAN -                   ·1· · · · · · · · · · - STUART VARDAMAN -
·2· · · · · A.· · ·I do.                                    ·2· · ·had -- had stepped back from the panel interviews
·3· · · · · Q.· · ·Does that refresh your recollection      ·3· · ·and -- and so we ultimately landed at the
·4· · ·about whether Mr. Stevens was supportive of her      ·4· · ·panelists that were -- that are listed in -- in
·5· · ·interviewing for the role?                           ·5· · ·GHire, I guess.
·6· · · · · A.· · ·Honestly, that would have been a         ·6· · · · · Q.· · ·Looking again at Exhibit 106 under
·7· · ·conclusion that I reached given -- given Eryka's     ·7· · ·"Impression," the bullet "Impression."
·8· · ·e-mail, the previous exhibit.                        ·8· · · · · · · · ·You write "Executive poise confident,
·9· · · · · Q.· · ·At any point in time, did anyone tell    ·9· · ·but not ego driven, forthright with a quick
10· · ·you that Mr. Stevens was not supportive of her for   10· · ·operating cadence."· Do you see that?
11· · ·the role?                                            11· · · · · A.· · ·Yes, I do.
12· · · · · A.· · ·No.                                      12· · · · · Q.· · ·What was that impression based on?
13· · · · · Q.· · ·Did you discuss that with Mr.            13· · · · · A.· · ·That would have been my meeting with
14· · ·Shaukat?                                             14· · ·her, the -- the one that I had mentioned was
15· · · · · A.· · ·Discuss what?                            15· · ·probably around 45 minutes.· Again, this is my
16· · · · · · · · ·MR. GAGE:· Objection.                    16· · ·attempt in my job to help ensure that candidates
17· · · · · Q.· · ·Whether Mr. Stevens was supportive of    17· · ·are -- are putting their best foot forward with
18· · ·her for the role.                                    18· · ·the information that -- that I tee up panel
19· · · · · A.· · ·No, that would have been a               19· · ·members for.· I -- yeah.
20· · ·conversation between VPs.                            20· · · · · Q.· · ·You've only been giving accurate
21· · · · · · · · ·If, you know, I can shed a little bit    21· · ·information as part of these e-mails, correct?
22· · ·more light about my intent in these, messages like   22· · · · · A.· · ·Yes, for the benefit of the
23· · ·these for candidates both in Goog -- in internal     23· · ·candidate.· I can tell you that my personal
24· · ·and external, it's a -- it's an attempt to help      24· · ·impression in my conversation was -- was that I
25· · ·the candidates put their best foot forward so that   25· · ·was talked down to that I felt as -- as a result

                                                Page 67                                                     Page 69
·1· · · · · · · · · · - STUART VARDAMAN -                   ·1· · · · · · · · · · - STUART VARDAMAN -
·2· · ·a panel member could read some of this and say       ·2· · ·of my level.
·3· · ·okay, I am -- I am interested in meeting this        ·3· · · · · Q.· · ·What made you feel like you were
·4· · ·candidate and -- and so there -- there's some        ·4· · ·talked down to?
·5· · ·content in there to -- to help, in this case, Ulku   ·5· · · · · A.· · ·There was a perceptible, perceivable
·6· · ·put her best foot forward.                           ·6· · ·annoyance I think with the -- the conversation
·7· · · · · Q.· · ·Who made the decision about who Mr.      ·7· · ·that -- that she had with me.
·8· · ·Rowe's interview panel would be?                     ·8· · · · · Q.· · ·And tell me about that.
·9· · · · · · · · ·MR. GAGE:· Objection.                    ·9· · · · · A.· · ·I felt dismissed at the end of the
10· · · · · A.· · ·That would have been a conversation      10· · ·day as a result of my conversation with -- with
11· · ·likely during one of our meetings between Tariq      11· · ·Ulku.
12· · ·and Fiona O'Donnell at the time.· It would have      12· · · · · Q.· · ·What did she say that made you feel
13· · ·been a -- Tariq's business partner -- HR business    13· · ·dismissed?
14· · ·partner, excuse me, and me.                          14· · · · · A.· · ·I don't recall specifics.
15· · · · · · · · ·And, if -- if I can, the -- the          15· · · · · Q.· · ·What made you say -- what did she say
16· · ·reason that that's a discussion is because we want   16· · ·that made you perceive that she was annoyed?
17· · ·panel members, A, to be objective, but then, B,      17· · · · · · · · ·MR. GAGE:· Objection.
18· · ·representative of relationships that a given         18· · · · · A.· · ·It would have been a combination of
19· · ·candidate might be expected to work with closely     19· · ·her -- I -- I think of her demeanor and her -- her
20· · ·for the benefit of our -- of our customers.          20· · ·word choice in that meeting with me, but again the
21· · · · · Q.· · ·What did you discuss with respect to     21· · ·specifics I -- I don't recall exactly.
22· · ·who would be the panel members for Ms. Rowe's        22· · · · · Q.· · ·What about her demeanor?
23· · ·interview?                                           23· · · · · · · · ·MR. GAGE:· Objection.
24· · · · · A.· · ·I don't recall specifics.· As -- as I    24· · · · · A.· · ·Again, the conclusion I felt as a
25· · ·had mentioned in an earlier exhibit, Brian           25· · ·result of interacting with her was that I felt


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·1· · · · · · · · · · - STUART VARDAMAN -                   ·1· · · · · · · · · · - STUART VARDAMAN -
·2· · ·dismissed and -- and talked down to I -- I guess     ·2· · ·no, ma'am.· I mean, we're -- we're getting back to
·3· · ·by the fact I was having and requesting a meeting    ·3· · ·2018 here and -- and I'm -- you know, I -- I just
·4· · ·with her to -- to shed light on the process.         ·4· · ·-- just don't -- don't recall the specifics.
·5· · · · · · · · ·I think it's important to note that      ·5· · · · · Q.· · ·Do you recall whether she was unhappy
·6· · ·none of that came out here in this note to Jason     ·6· · ·with the process as opposed to being unhappy with
·7· · ·in advance of the interview prep, hence going back   ·7· · ·you?
·8· · ·to what I said earlier about ensuring that the       ·8· · · · · A.· · ·No.· I -- I don't recall the -- any
·9· · ·candidates are being presented the best possible     ·9· · ·-- any difference there.· If I were in her shoes,
10· · ·light.                                               10· · ·I would have been excited to run the process.
11· · · · · Q.· · ·I understand how you felt leaving        11· · · · · Q.· · ·Did Mr. Shaukat interview her for the
12· · ·that meeting.· Now I want you to explain to me       12· · ·role?
13· · ·what she did or what she said that led you to feel   13· · · · · A.· · ·It depends on what you mean by
14· · ·that way.                                            14· · ·"interview."· I don't -- I don't know if there's a
15· · · · · · · · ·MR. GAGE:· Objection.· Asked and         15· · ·specific meeting document in GHire.
16· · · · · answered.                                       16· · · · · Q.· · ·Do you know if at any point in time
17· · · · · A.· · ·Again I -- I can't recall the            17· · ·he met with her to discuss her qualifications for
18· · ·specifics, ma'am.· There is an aspect of being       18· · ·the role?
19· · ·successful at Google, which is this notion of        19· · · · · A.· · ·No, ma'am, I don't have insight into
20· · ·Googleyness, and part of that is encapsulated        20· · ·that meeting.
21· · ·with openly and actively working across the          21· · · · · Q.· · ·Do you know if that meeting ever took
22· · ·organization regardless of level, sometimes L 2s.    22· · ·place?
23· · ·And, again, my impression/feeling after my           23· · · · · A.· · ·No, ma'am, I really don't.
24· · ·conversation with Ulku was that I was dismissed      24· · · · · Q.· · ·Would -- you described for me as a --
25· · ·and be -- because of level.                          25· · ·as a point in the process that Mr. Shaukat would

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·1· · · · · · · · · · - STUART VARDAMAN -                   ·1· · · · · · · · · · - STUART VARDAMAN -
·2· · · · · Q.· · ·What was the last thing, because of      ·2· · ·meet with candidates.· Do you know whether he did
·3· · ·what?                                                ·3· · ·that with Ms. Rowe?
·4· · · · · A.· · ·Because of my level, being an L 6 and    ·4· · · · · A.· · ·I don't.· What I was describing there
·5· · ·being involved in this process as -- as              ·5· · ·was largely for external candidates.
·6· · ·essentially the facilitator of -- of the process     ·6· · · · · Q.· · ·Did Mr. Shaukat ever share feedback
·7· · ·we were running.                                     ·7· · ·with respect to his view of her qualifications for
·8· · · · · Q.· · ·Did she know your level?                 ·8· · ·the role?
·9· · · · · A.· · ·I don't know.                            ·9· · · · · · · · ·MR. GAGE:· Objection.
10· · · · · Q.· · ·Did you do anything to document your     10· · · · · A.· · ·His view -- I'm sorry?
11· · ·impressions leaving that meeting?                    11· · · · · Q.· · ·Did Mr. Shaukat --
12· · · · · A.· · ·I don't think so, no.                    12· · · · · A.· · ·His view on who?· I'm sorry.
13· · · · · Q.· · ·Did you share those impressions with     13· · · · · Q.· · ·I'll re-ask the question.· Did Mr.
14· · ·anyone?                                              14· · ·Shaukat ever share with you his view of Ms. Rowe's
15· · · · · A.· · ·No, it's not my job.                     15· · ·qualifications for her consideration for the --
16· · · · · Q.· · ·In that meeting, did Ms. Rowe express    16· · ·the head of financial services role?
17· · ·any frustration that she had not been contacted      17· · · · · A.· · ·No, ma'am.
18· · ·before about the position?                           18· · · · · Q.· · ·Did you ever ask him for
19· · · · · A.· · ·Not that I recall, no, ma'am.            19· · ·documentation related to his view of her
20· · · · · Q.· · ·Do you recall her again noting           20· · ·qualifications for that role?
21· · ·that -- or alluding to your recruiting process       21· · · · · A.· · ·No, ma'am.· Again, he -- he asked me
22· · ·when she joined and that she thought OCTO group      22· · ·to involve her in the process and because she's a
23· · ·was a holding place until verticalization?           23· · ·Googler, that's -- largely how the process
24· · · · · A.· · ·Verticalization, this stuff on the       24· · ·manifested for Ulku is exactly what we would have
25· · ·last couple of docu -- or couple of exhibits ago,    25· · ·done for -- for a Googler whom Tariq wanted to


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·1· · · · · · · · · · - STUART VARDAMAN -                   ·1· · · · · · · · · · - STUART VARDAMAN -
·2· · · · · · · · ·(The question and answer requested       ·2· · ·looks like he had some questions on her ability to
·3· · · · · was read back by the reporter.)                 ·3· · ·spur followership.
·4· · · · · · · · ·MR. GAGE:· Yeah, I thought there was     ·4· · · · · Q.· · ·Did he share anything more with you?
·5· · · · · more to his answer because I got bits and       ·5· · · · · A.· · ·No, ma'am, not that I recall.
·6· · · · · pieces of kind of a clipped response on the     ·6· · · · · Q.· · ·Okay.· We're going to go down again
·7· · · · · video as it froze.                              ·7· · ·to Page 117, the page Bates stamped 838 and you
·8· · · · · Q.· · ·So let me ask the question again --      ·8· · ·see this is August 10th, 2018?
·9· · · · · A.· · ·Okay.                                    ·9· · · · · A.· · ·Yes.
10· · · · · Q.· · ·-- and we can go through.· Who made      10· · · · · Q.· · ·And --
11· · ·the decision that she was not viable for the role?   11· · · · · · · · ·MR. GAGE:· I'm sorry, 8 -- 830 what?
12· · · · · · · · ·MR. GAGE:· Objection.                    12· · · · · · · · ·MS. GREENE: 838.· 8-3-8.
13· · · · · A.· · ·What I captured there is not a           13· · · · · · · · ·MR. GAGE:· Oh, okay.· I thought you
14· · ·decision and that must have been referencing the     14· · · · · said 113.
15· · ·information I'd received from Darryl and Jason.      15· · · · · · · · ·MS. GREENE:· 117 is the PDF number.
16· · · · · Q.· · ·So this was your -- this was             16· · · · · · · · ·MR. GAGE:· All right.
17· · ·reflecting your impression based on what you heard   17· · · · · Q.· · ·And if you turn to the next page and
18· · ·from Darryl and Jason?                               18· · ·look at the entry for Ms. Rowe, "This is awaiting
19· · · · · A.· · ·Yeah, most likely.                       19· · ·complete feedback.· Met with Sebastian, 8/2.
20· · · · · Q.· · ·And what you heard from them came in     20· · ·Darryl, Jason, Vats, 8/8.· Vats liked her.· Darryl
21· · ·the form of a ping; is that right?                   21· · ·liked her.· Had some questions followership."· Do
22· · · · · A.· · ·That is correct.                         22· · ·you see that?
23· · · · · Q.· · ·Okay.· We're going to go down again.     23· · · · · A.· · ·I do.
24· · ·Give me a minute, I might be able to tell what you   24· · · · · Q.· · ·So this is approximately two days
25· · ·page.                                                25· · ·after those -- the interview completed, correct?

                                                Page 99                                                    Page 101
·1· · · · · · · · · · - STUART VARDAMAN -                   ·1· · · · · · · · · · - STUART VARDAMAN -
·2· · · · · · · · ·Okay.· We're going to Page 104 in the    ·2· · · · · A.· · ·8/8 and this is 8/10, yes.
·3· · ·PDF which is Bates Page 825 and you might need to    ·3· · · · · Q.· · ·So between 8/10 -- well, at any point
·4· · ·look to the prior page to see the date, this is      ·4· · ·after 8/10, did you receive any other feedback
·5· · ·August 24th, 2018.· Do you see that?                 ·5· · ·with respect to Ms. Rowe?
·6· · · · · A.· · ·I do.                                    ·6· · · · · A.· · ·I -- I really don't remember.· It's a
·7· · · · · Q.· · ·Okay.· Then going down to the entry      ·7· · ·flurry of activities to get people to enter their
·8· · ·for Ulku Rowe it says "Chasing feedback" and does    ·8· · ·feedback into GHire.
·9· · ·that indicate as of August 24th you were still       ·9· · · · · Q.· · ·If you had received additional --
10· · ·chasing feedback?                                    10· · ·well, let me ask you this.· With respect to the
11· · · · · A.· · ·In the system, yes.                      11· · ·feedback that you did receive from Mr. Willis, is
12· · · · · Q.· · ·It says "Met with Sebastian 8/2,         12· · ·it reflected here in this entry?
13· · ·Darryl, Jason, Vats 8/8.· Vats liked her.· Darryl    13· · · · · A.· · ·Yeah, I think so.
14· · ·liked her.· Had some questions followership."· Do    14· · · · · Q.· · ·Is there any reason why you did not
15· · ·you see that?                                        15· · ·include feedback that you had received from Mr.
16· · · · · A.· · ·I do.                                    16· · ·Martin in this entry?
17· · · · · Q.· · ·Does this reflect what had been          17· · · · · A.· · ·I may not have been able to get any.
18· · ·communicated to you by Vats and Darryl?              18· · · · · Q.· · ·And so your understanding was that at
19· · · · · A.· · ·Yeah, must have.· Yeah, because I        19· · ·least two of the people that she interviewed with
20· · ·wrote it.                                            20· · ·liked her, correct?
21· · · · · Q.· · ·Do you recall Darryl saying he liked     21· · · · · · · · ·MR. GAGE:· Objection.
22· · ·her?                                                 22· · · · · A.· · ·From their perspective, that
23· · · · · A.· · ·I don't, but I think as a -- as a        23· · ·was what I had received.· If I translated it here,
24· · ·matter of practice I would have captured the         24· · ·there's considerable nuance beneath that which is
25· · ·sentiment and it -- and, as you can see here, it     25· · ·why I was orienting people toward the entering


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                                               Page 106                                                    Page 108
·1· · · · · · · · · · - STUART VARDAMAN -                   ·1· · · · · · · · · · - STUART VARDAMAN -
·2· · · · · · · · ·(Whereupon, Exhibit 111 was marked at    ·2· · · · · Q.· · ·So is it your testimony that she was
·3· · · · · this time.)                                     ·3· · ·not rejected for the role?
·4· · · · · Q.· · ·Do you recognize this as a               ·4· · · · · · · · ·MR. GAGE:· Objection.
·5· · ·communication from yourself dated 12 November,       ·5· · · · · A.· · ·As I recall, Tariq was going to
·6· · ·2018?                                                ·6· · ·circle back with her and let her know where things
·7· · · · · A.· · ·I do.                                    ·7· · ·landed with Thomas Kurian joining and -- and
·8· · · · · Q.· · ·And who is Dave Beuerlein?               ·8· · ·ultimately the cancelation.
·9· · · · · A.· · ·Dave Beuerlein was the leader, the       ·9· · · · · Q.· · ·So, again, is it your testimony that
10· · ·director of the organization I mentioned earlier     10· · ·she was not suggested for the role, that the role
11· · ·that I was a part of, the kind of broader LST        11· · ·closed before there had been a determination with
12· · ·group that worked across the various product         12· · ·respect to Ms. Rowe; is that your testimony?
13· · ·areas.                                               13· · · · · A.· · ·Correct --
14· · · · · Q.· · ·Do you see where it says "VP             14· · · · · · · · ·MR. GAGE:· Objection.
15· · ·Financial Services"?                                 15· · · · · A.· · ·-- the role closed.
16· · · · · A.· · ·Yes, I do.                               16· · · · · Q.· · ·Did Mr. Shaukat tell you that he had
17· · · · · Q.· · ·Is that referring to the head of         17· · ·received a communication from Ms. Rowe saying that
18· · ·financial services role?                             18· · ·she thought she was more qualified than the two
19· · · · · A.· · ·I think so, yes.                         19· · ·finalists?
20· · · · · Q.· · ·And it says "Two finalists:·             20· · · · · A.· · ·No.
21· ·                      and               external.      21· · · · · Q.· · ·Did Mr. Shaukat tell you that she had
22· · ·Both candidates have completed all stages in the     22· · ·told him that she thought he should just give her
23· · ·process.·       met Diane Greene on 10/11 and we     23· · ·the role?
24· · ·have been in a holding pattern since then.· The      24· · · · · A.· · ·No, I don't recall that.
25· · ·next step would be to choose the candidate and       25· · · · · Q.· · ·Did Mr. Shaukat tell you that she had

                                               Page 107                                                    Page 109
·1· · · · · · · · · · - STUART VARDAMAN -                   ·1· · · · · · · · · · - STUART VARDAMAN -
·2· · ·begin the packet process."· Do you see that?         ·2· · ·raised a concern about discrimination?
·3· · · · · A.· · ·I do.                                    ·3· · · · · A.· · ·No, ma'am.
·4· · · · · Q.· · ·As of November 12th then, had it been    ·4· · · · · Q.· · ·Did he tell you that she had raised a
·5· · ·determined that the two finalists for the position   ·5· · ·concern about her levelling?
·6· · ·were                and              ?               ·6· · · · · A.· · ·No.
·7· · · · · A.· · ·No, honestly that looks like an          ·7· · · · · Q.· · ·Did he tell you that she had raised
·8· · ·oversight on my part.                                ·8· · ·a concern that her initial leveling was
·9· · · · · Q.· · ·That you did not know?                   ·9· · ·under-leveled and that was impacting her
10· · · · · A.· · ·Correct, and Dave -- or in my email      10· · ·consideration for the VP position?
11· · ·to Dave, I reference the --· the ping                11· · · · · A.· · ·For the lead financial services
12· · ·conversation.· I'm not sure what the context of      12· · ·position, no, not that I recall.· Tariq typically
13· · ·that -- or I don't recall what the context of that   13· · ·didn't share such -- such things, even if he would
14· · ·ping conversation was.                               14· · ·have insight into them.
15· · · · · Q.· · ·But here you don't make any mention      15· · · · · Q.· · ·Did Mr. Shaukat tell you that ER was
16· · ·of Ms. Rowe as a finalist for the position,          16· · ·looking into concerns that Ms. Rowe had raised?
17· · ·correct?                                             17· · · · · A.· · ·Not that I recall, no.
18· · · · · A.· · ·That is correct.                         18· · · · · Q.· · ·Did Mr. Shaukat tell you that he was
19· · · · · Q.· · ·At any point in time was a               19· · ·concerned that she might leave Google?
20· · ·determination made, that you know of, that Ms.       20· · · · · A.· · ·Not that I recall, no.
21· · ·Rowe was not a candidate anymore for the position?   21· · · · · Q.· · ·Did you form your own opinion about
22· · · · · A.· · ·No.                                      22· · ·Ms. Rowe as a candidate for the VP of financial
23· · · · · · · · ·MR. GAGE:· Objection.                    23· · ·services position?
24· · · · · A.· · ·Again, the -- the search concluded       24· · · · · · · · ·MR. GAGE:· Objection.
25· · ·being canceled with no candidate being selected.     25· · · · · A.· · ·My opinion, given she was a Googler,
